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13
                         UNITED STATES DISTRICT COURT
14                     SOUTHERN DISTRICT OF CALIFORNIA
15
16   CRYSTAL HILSLEY, on behalf of              )   Case No. 3:18-cv-00395-L-BLM
     herself and all others similarly situated, )
17                                              )   CLASS ACTION
                                Plaintiff,      )
18                                              )
            vs.                                 )   JOINT MOTION AND
19                                              )   STIPULATION TO STAY ACTION
20                                              )
     GENERAL MILLS, INC. and                    )   Hon. M. James Lorenz
21   GENERAL MILLS SALES, INC.,                 )
                                                )
22                             Defendants.      )
                                                )
23                                              )
24                                              )
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25                                              )
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26                                              )
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27                                              )
28                                              )



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                                      JOINT MOTION AND STIPULATION TO STAY ACTION
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 1         Plaintiff Crystal Hilsley (“Plaintiff”) and Defendants General Mills, Inc. and
 2   General Mills Sales, Inc. (“Defendants”) (collectively “the Parties”) respectfully
 3   submit this Joint Motion and Stipulation to Stay Action and state as follows:
 4         WHEREAS, on October 22, 2019, the Parties attended a full day mediation
 5   conducted by Jill R. Sperber, Esq. of Judicate West;
 6         WHEREAS, the Parties have been diligently negotiating the terms of a
 7   settlement during the past several months;
 8         WHEREAS, on March 9, 2020, the Parties attended a second mediation
 9   session before Jill R. Sperber, Esq. where the Parties agreed to the principal terms
10   of a settlement;
11         WHEREAS, the Parties are working towards finalizing the terms of a formal
12   settlement agreement that will resolve the claims in this action;
13         WHEREAS, the Parties agree that a 90-day stay of this action would further
14   facilitate the Parties’ ability to finalize the terms of a formal settlement agreement;
15         NOW THEREFORE, the Parties respectfully request that Court stay this
16   action for a 90-day period until July 7, 2020.
17
18   IT IS SO STIPULATED.
19
20   Dated: April 7, 2020             Respectfully submitted,
21
22                                    /s/ Michael T. Houchin
                                      MICHAEL T. HOUCHIN
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 9
10   Dated: April 7, 2020          Respectfully submitted,
11
12                                 /s/ Charles Sipos
                                   CHARLES SIPOS
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28                                  Counsel for Defendants General Mills,
                                    Inc. and General Mills Sales, Inc.
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 1                  ELECTRONIC SIGNATURE CERTIFICATION
 2         I, Michael T. Houchin, hereby certify that the other signatory listed on this
 3   document has authorized this electronic filing. I declare under penalty of perjury of
 4   the laws of the United States that the foregoing is true and correct.
 5
 6
 7   Dated: April 7, 2020                    Respectfully submitted,
 8
 9                                           /s/ Michael T. Houchin
                                             MICHAEL T. HOUCHIN
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